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 6                                  UNITED STATES DISTRICT COURT
 7                                         DISTRICT OF NEVADA
 8                                                        ***
 9     UNITED STATES OF AMERICA,                      )
                                                      )
10                    Plaintiff,                      )         2:09-cr-376-RCJ-RJJ
                                                      )
11     vs.                                            )
                                                      )
12     IGNACIO GOMEZ-SANCHEZ, et al.,                 )             ORDER
                                                      )
13                    Defendant,                      )
                                                      )
14
              This matter is before the undersigned Magistrate Judge on the Second Proposed
15
       Scheduling Order (#36).
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              The Court having reviewed the Second Proposed Scheduling Order (#36) finds that it
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       refers to dates that have NOT been previously adopted by the Court and further, finds it has not
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       been signed by the filing party. Based on the foregoing and good cause appearing therefore,
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              IT IS HEREBY ORDERED that the Second Proposed Scheduling Order (#36) is
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       DENIED WITHOUT PREJUDICE.
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              DATED this      20 day of July, 2010.
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25                                                    ROBERT J. JOHNSTON
                                                      United States Magistrate Judge
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